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EXHIBIT B
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Eric S. Rosen                                                          Milan
Assistant United States Attorney
District of Massachusetts
John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
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                       Re: United States v. Sidoo et al., No. 19-cr-10080


Dear Mr. Rosen:

        We are writing to respond to your suggestion that, by virtue of the firm’s concurrent
representation of the University of Southern California (USC) in an unrelated matter, Latham &
Watkins LLP is ethically barred from representing its clients Lori Loughlin and Mossimo
Giannulli in the above-captioned case. Having carefully reviewed the applicable ethical rules
and precedent in light of the substance and scope of our representations, our firm has concluded
that there is no current or foreseeable conflict of interest, and that we have taken appropriate
steps to avoid any such conflict of interest arising in the course of the case.

        The purpose of this letter is to set out our analysis and reasoning in the sincere hope that,
once you have had the opportunity to review this letter and the sources cited, you will reconsider
your position and appreciate that there is no disqualifying conflict of interest justifying a motion
to deny Ms. Loughlin and Mr. Giannulli their constitutional right to retain counsel of their
choice.


I.         FACTUAL BACKGROUND

        USC is currently a client of our firm. At this time, we are representing USC in only one
matter, and the substance of that matter is publicly known. It involves a dispute between USC
and the Los Angeles Memorial Coliseum Commission over USC’s lease rights respecting the
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Coliseum. Neither this matter, nor any prior matter we have handled for USC in the past, is in
any way related to our representation of Ms. Loughlin and Mr. Giannulli. USC does not contend
otherwise.

        In the above-captioned case, we represent Ms. Loughlin and Mr. Giannulli, each of
whom has also engaged separate co-counsel. Ms. Loughlin is represented by Mark Harris of
Scheper Kim & Harris along with Latham. Mr. Giannulli is represented by George Vien of
Donnelly, Conroy & Gelhaar, LLP, along with Latham. As a result, each of our clients will be
able to tailor the scope of responsibilities among co-counsel in a way to best meet their needs.
Based on information currently known to us, our clients’ defense will focus on their knowledge
and intent, as well as the legal deficiencies in the government’s mail fraud and honest services
theories. Should there be any need to cross-examine a USC representative while USC is a client
of the firm, Latham will recuse itself entirely from such cross-examination, as well as all
underlying strategic advice. Should there be a penalty phase of this case while USC is a client of
the firm, Latham similarly will recuse itself from any aspect of the case that concerns restitution
to USC. All such matters will be handled exclusively by co-counsel while USC remains a client
of Latham.

       Both Ms. Loughlin and Mr. Giannulli have been advised of Latham’s current
representation of USC and of USC’s and your allegations that this presents a conflict of interest.
Both have had the opportunity to discuss this issue with independent counsel. And both, having
considered the issue, have chosen to have Latham continue as co-counsel in this matter as
described above. This situation therefore squarely implicates Ms. Loughlin and Mr. Giannulli’s
core Sixth Amendment right, when faced with a criminal prosecution by the full weight of the
United States, to retain the counsel of their choice. See Luis v. U.S. ____ U.S. ____, 136 S.Ct.
1083, 1086 (2016) (“The right to select counsel of one’s choice is . . . the root meaning of the
Sixth Amendment right to counsel.”) (internal quotations omitted); Kaley v. U.S., 571 U.S. 320,
336 (2014) (Defendants “having the ability to retain the counsel they believe to be best . . .
matters profoundly.”) (internal quotations omitted); U.S. v. Gonzalez-Lopez, 548 U.S. 140, 144,
147-148; United States v. Arias, 351 F.Supp.3d 198, 199 (D. Mass. 2019) (the Sixth Amendment
guarantees “the right to have an attorney of one’s own choosing”) (internal quotations omitted).

II.       CONTENTIONS

       You have suggested that Latham has a current conflict of interest because representing
criminal defendants is inherently adverse to the interests of the alleged victims of their alleged
crimes. USC has additionally suggested that Latham’s representation of Ms. Loughlin and Mr.
Giannulli poses foreseeable conflicts because it is possible that USC may have civil disputes
with one or both sometime in the future, and because the fact that USC concurrently uses for the
Coliseum matter the same counsel that Ms. Loughlin and Mr. Giannulli have hired for this matter
may cause USC public embarrassment. You have further expressed concern that Ms. Loughlin
and/or Mr. Giannulli might later challenge a conviction for ineffective assistance of counsel
based on these supposed conflicts.




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III.      ANALYSIS

        Faced with a motion to disqualify counsel, the district court would apply the
Massachusetts Rules of Professional Conduct. See Altova GmbH v. Syncro Soft SRL, 320
F.Supp.3d 314, 318, n. 2 (D.Mass. 2018) (“Attorneys practicing in this district must comply with
the ethical requirements embodied in the Massachusetts Rules of Professional Conduct.”);
California Association of Realtors, Inc. v. PDFfiller, Inc., 2017 WL 975945 at *3-*4 (applying
Massachusetts Rules of Professional Conduct 1.7 and 1.10 in deciding motion to disqualify);
D.Mass.L.R. 83.6.1.

          A.      There Is No Current Conflict of Interest

        Under Rule 1.7, a concurrent conflict of interest exists when a firm’s representation of
one client is “directly adverse” to another client. See Mass. R. Prof. C. 1.7(a)(1). The core
mandate of this rule is that “absent consent, a lawyer ordinarily may not act as an advocate in
one matter against a person the lawyer represents in some other matter.” Mass. R. Prof. C. 1.7
cmt. 6.1 The rule also generally prohibits a lawyer from cross examining a person the lawyer
represents in another matter, id., though a lawyer may do so when the cross-examination is on a
peripheral issue, Commonwealth v. Boateng, 438 Mass. 498, 508-512 (2003). This case involves
neither of these circumstances. Latham’s representation of Ms. Loughlin and Mr. Giannulli is
“against” only the United States, not against USC; and Latham is not proposing to cross-examine
any USC representative (and indeed has made clear it will not do so while USC is a client of the
firm).

        You have suggested that direct adversity exists here because defending Ms. Loughlin and
Mr. Giannulli is inherently contrary to the interests of USC, as an alleged victim of the alleged
crime. That is not true as a matter of ethics law. Under Rule 1.7, “[d]irect adversity requires a
conflict as to the legal rights and duties of the clients.” American Bar Association Standing


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     Because Latham’s representation of Ms. Loughlin and Mr. Giannulli is entirely unrelated to any
    matter in which the firm is representing USC or has represented USC in the past, this situation
    does not implicate the distinct concerns that are raised when a lawyer who represents a criminal
    defendant is representing or has represented an adverse witness in the same or a related matter.
    See, e.g., U.S. v. O’Malley, 786 F.2d 786 (7th Cir. 1986) (upholding disqualification where
    defendant’s counsel previously represented one of government’s major witness against
    defendant where confidential information obtained by counsel from former client related to
    defendant); U.S. v. Lanoue, 137 F.3d 656, 663 (1st Cir. 1998) (upholding district court’s
    disqualification of defendant’s counsel who previously represented government’s witness in a
    related trial also involving defendant). In those circumstances, the dual representation raises the
    prospect that the lawyer may improperly use in the criminal defense confidences she obtained
    (or is presumed to have obtained) in her representation of the adverse witness, a situation that
    would corrupt the administration of justice. That concern is not present here. Because Latham
    has never represented USC in any related matter, there is no risk that the firm has or would
    use/communicate confidences of USC to Ms. Loughlin or Mr. Giannulli’s advantage, and thus
    no possible taint on these proceedings.


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Committee on Ethics and Professional Responsibility Op. 05–434, at 140 (Dec. 8, 2004) (ABA
Op. 05–434) (emphasis added); Maling v. Finnegan, Henderson, Farabow, Garrett & Dunner,
LLP, 473 Mass. 336, 341 (2015). To the extent this encompasses a conflict with a client’s
“interests,” that necessarily is limited to a conflict with the client’s legal interests. Latham’s
representation of Ms. Loughlin and Mr, Giannulli in this case concerns only whether they
violated the federal criminal statutes with which the government has charged them. The court
will not adjudicate any of USC’s legal rights, duties, or interests. Furthermore, as noted, based on
the information currently known to us, the defense in this case will focus on our clients’
knowledge and intent, as well as the legal deficiencies in the government’s mail fraud and honest
services theories.

        To the extent that USC, as an alleged victim, may wish to see Ms. Loughlin and Mr,
Giannulli convicted and punished, that is an “interest” only in a colloquial sense. It is not a legal
right or obligation, and thus not a cognizable interest protected by Rule 1.7. See Maling v.
Finnegan, Henderson, Farabow, Garrett & Dunner, LLP, 473 Mass. 336, 341-42 (“[D]irect
adverseness requires a conflict as to the legal rights and duties of the clients, not merely
conflicting economic interests.”) citing American Bar Association Standing Committee on Ethics
and Professional Responsibility, Formal Op. 05–434, at 140 (Dec. 8, 2004). Moreover, even
considered in that colloquial sense, UCS’s only legitimate interest is that the law be enforced
correctly—regardless of USC’s normative view of the defendants’ conduct, its beliefs about the
defendants’ frame of mind, or its own interpretation of the relevant criminal statutes.

          B.   There Is No Foreseeable Future Conflict Of Interest

        Rule 1.7 also bars a representation where direct adversity is reasonably foreseeable. See
Bryan Corp. v. Abrano, 474 Mass. 504, 510, 514-15 (upholding disqualification of counsel
whose concurrent clients, shareholder and company, became directly adverse to one another,
noting “rule 1.7 encompasses a lawyer’s duty to anticipate potential conflicts . . . .”) (emphasis
added); Maling, 473 Mass. at 347 (considering whether counsel “reasonably should have
foreseen the potential conflict” between concurrent clients in determining whether Rule 1.7
violated).

        You have noted that representatives of USC may appear as adverse witnesses in this
matter, and suggested that this poses a foreseeable conflict of interest. But there can be no
conflict of interest in light of the co-counsel arrangement our clients have in place, because if a
USC representative appears as an adverse witness while USC is a client of the firm, Latham will
not participate in any way in that aspect of this case. Not only will Latham not itself cross-
examine such a witness but, further, it will not advise Ms. Loughlin and Mr. Giannulli, or discuss
with co-counsel, whether the witness should be cross-examined, and will not participate at all in
the preparation for any cross-examination. Should this case proceed to a penalty phase while
USC is a client of the firm, Latham similarly will recuse itself from participation in any aspect of
the case that concerns restitution to USC. All such matters will be handled exclusively by co-
counsel while USC remains a client of the firm. Such use of conflicts counsel to avoid a conflict
is well established. See e.g., Sykes v. Matter, 316 F.Supp.2d 630, 633 (M.D. Tenn. 2004) (“[T]he
potential for conflict can be removed by allowing plaintiff to retain other counsel for purposes of
cross-examin[ation]”); Wal-Mart Stores, Inc. v. Vidalakis, 2007 U.S. Dist. LEXIS 4468688, at


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*4-*5 (W.D. Ark. Dec. 17, 2007) (denying disqualification motion, upon finding that “the use of
outside independent counsel to handle the depositions, discovery exchange, and all trial issues
involving Wal-Mart is the most reasonable solution”); id. at *5 (citing cases approving “the use
of local counsel or co-counsel to cross-examine former clients of primary counsel as an effective
and appropriate cure of any potential conflict”); Swanson v. Wabash, Inc., 585 F. Supp. 1094,
1097 (N.D. Ill. 1984) (finding “no conflict is possible” if former client of counsel is cross-
examined by independent co-counsel); ABA Formal Opn. No. 92-367 (noting that “[i]n some
instances, a sufficient solution may be to provide for other counsel, also representing the
litigation client, to deal with the client-witness”); U.S. v. Jeffers, 520 F.2d 1256, 1266 (7th Cir.
1975), cert. denied 423 U.S. 1066 (1976) (noting that counsel could have obtained co-counsel for
cross-examination of witness also represented by counsel in another matter). And here the fact
that both defendants have existing co-counsel who can handle any such aspects of the case
should they arise eliminates the possibility of any prejudice to the defendants or delay of the
proceedings. See generally ABA Formal Opn. No. 92-367, n. 17 (“The general rule is that a co-
counsel will not in and of itself require disqualification.”). For these reasons, it is not
foreseeable that Latham will have a concurrent conflict of interest in the future.

        USC has suggested that Latham’s representation of Ms. Loughlin and Mr. Giannulli may
conflict with USC’s interests in possible future civil litigation with these individuals. But any
such future civil litigation is completely speculative, Latham is not proposing to represent Ms.
Loughlin or Mr. Giannulli in any such civil litigation,2 USC has never articulated how Latham’s
representation of the defendants in this case would bear on any such civil litigation, and the
possibility that Latham might help secure an acquittal that creates a precedent that proves
unhelpful to USC in future civil litigation would not qualify as direct adversity in any event. See
Mass. R. Prof’l. Cond. 1.7, cmt. [24] (“The mere fact that advocating a legal position on behalf
of one client might create precedent adverse to the interests of a client represented by the lawyer
in an unrelated matter does not create a conflict of interest.”).3

          C.   There Is No Sixth Amendment Problem

        You have expressed the concern that Ms. Loughlin and Mr. Giannulli may later seek to
overturn a conviction by claiming that Latham was conflicted and therefore ineffective. That is
not a realistic concern.


2
 To the extent you may believe it relevant, Latham is not representing Ms. Loughlin and Mr.
Giannulli’s daughters in the disciplinary proceedings that USC has brought against them. The
children have their own counsel, and Latham is not involved in any respect.
3
  USC has also suggested that it might suffer adverse publicity if the media reports that a law
firm that it employs in unrelated matters is representing Ms. Loughlin and Mr. Giannulli in this
case. That is not even colorably an ethical problem. Latham is a large international law firm,
which represents many thousands of clients in myriad different matters. USC might not wish to
be publicly associated with any number of representations. But a client has no right to veto its
lawyer’s representation of other clients in unrelated matters merely because it might be
embarrassed by them.


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